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                                                      April 8, 2024

VIA ECF
Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:    United States v. Samuel Bankman-Fried, 1:22 CR 673 (LAK)

Dear Judge Kaplan:

         Defendant Sam Bankman-Fried was sentenced on March 28, 2024, primarily to 25 years
imprisonment, to be served, if possible, near his family’s home in California. (ECF 424). Mr.
Bankman-Fried respectfully requests, pursuant to Rule 38(b)(2) of the Federal Rules of Criminal
Procedure, that the Court supplement its recommendation to the Bureau of Prisons (“BOP”) by
issuing the attached proposed order recommending that the BOP allow him to remain at the
Metropolitan Detention Center in Brooklyn to facilitate access to his appellate counsel pending
the filing of the briefs in his anticipated appeal.

       Rule 38(b)(2) provides that “[i]f the defendant is not released pending appeal, the court
may recommend to the Attorney General that the defendant be confined near the place of the trial
or appeal for a period reasonably necessary to permit the defendant to assist in preparing the
appeal.” Fed. R. Cr. Proc. 38(b)(2). See e.g., United States v. Carl, No. 07-CR-29-P-S, 2008 WL
4615556 (D. Me. Oct. 16, 2008) (issuing similar order).

       The government informs us that they take no position on this request.

                                                      Respectfully submitted,

                                                       /s/ Marc L. Mukasey
                                                      Marc L. Mukasey
                                                      Torrey K. Young

cc:    All counsel (via ECF)
